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AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                           District of Nevada


                  United States of America                         )
                             v.                                    )      Case No. 2:20-mj-00591-NJK
                                                                   )
                     JAMES J. CASTRO                               )
                             Defendant                             )




                                         ORDER SCHEDULING A DETENTION HEARING




          A detention hearing in this case is scheduled as follows:

          Lloyd D. George United States Courthouse
Place:                                                                    Courtroom No.:      4B
          333 Las Vegas Blvd., South
          Las Vegas, NV 89101
          before: Magistrate Judge Nancy J. Koppe.                        Date and Time:      July 16, 2020 at 1:00 PM

        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:         July 15, 2020
                                                                                             Judge’s signature



                                                                           NANCY J. KOPPE, United States Magistrate Judge
                                                                                           Printed name and title




                          JUL 15, 2020
